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                            United States District Court
                            Eastern District of Michigan
                                 Southern Division

United States of America,
                                                   16-cr-20636
                   Plaintiff,
                                                   Hon. Arthur J. Tarnow
vs.

Gavin Awerbuch,

                   Defendant



      STIPULATED ORDER DIRECTING UNITED STATES TREASURY
           DEPARTMENT TO ACCEPT DEPOSIT INTO SEIZED
                     ASSETS DEPOSIT FUND


      The parties by and through undersigned counsel respectfully move this

Court to enter an order directing the United States Department of the Treasury,

Internal Revenue Service-Criminal Investigations to accept a deposit of

$1,507,868.20 from the defendant as a partial payment of the $4,100,000.00

forfeiture judgment entered against him.

      Previously, this court entered two orders directing partial payments totaling

$3,004,178.90 be applied toward the forfeiture judgment entered against the

defendant at sentencing. On March 9, 2018, this court directed the United States

Department of the Treasury, Internal Revenue Service-Criminal Investigations to
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accept $1,002,860.00 to be applied against the forfeiture judgment entered at

sentencing. (R. 36). On May 17, 2018, this court directed the United States

Treasury, Internal-Revenue Service-Criminal Investigations to accept $493,450.70

to be applied against forfeiture judgment. (R. 38). Upon receipt of the

$1,507,868.00, an amount of $1,095,821.10 shall remain due before the forfeiture

judgment of $4,100,000 will be fully satisfied.

IT IS SO ORDERED.


s/Arthur J. Tarnow
Arthur J. Tarnow
United States District Judge


Date: November 13, 2018

So Stipulated:

Matthew Schneider
United States Attorney

s/Philip A. Ross                       s/Mark Kriger (w/consent)
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Date: November 8, 2018                 Date: November 8, 2018

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